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Form B 250E (12/09)


                            United States Bankruptcy Court
                   _______________
                   Southern           District Of _______________
                                                  Texas

In re Northstar Offshore Group, LLC               ,             )        Case No. 16-34028
              Debtor*                                           )
                                                                )        Chapter 11
                                                                )


                        SUMMONS TO DEBTOR IN INVOLUNTARY CASE

To the above named debtor:

         A petition under title 11, United States Code was filed against you in this bankruptcy court on
_________________
August 12, 2016        (date), requesting an order for relief under chapter ______
                                                                            11      of the Bankruptcy
Code (title 11 of the United States Code).

       YOU ARE SUMMONED and required to file with the clerk of the bankruptcy court a motion
or answer to the petition within 21 days after the service of this summons. A copy of the petition is
attached.

                  Address of the clerk:        United States Courthouse
                                               515 Rusk Avenue
                                               Houston, Texas 77002

At the same time, you must also serve a copy of your motion or answer on petitioner’s attorney.
                                                                           Vincent P. Slusher
                  Name and Address of Petitioner’s Attorney:               DLA Piper LLP (US)
                                                                           1717 Main St., Suite 4600
                                                                           Dallas, TX 75201
If you make a motion, your time to answer is governed by Fed. R. Bankr. P. 1011(c).

If you fail to respond to this summons, the order for relief will be entered.



                                                                                       (Clerk of the Bankruptcy Court)

         Date:                                         By:                                     (Deputy Clerk)




* Set forth all names, including trade names, used by the debtor within the last 8 years. (Fed. R .Bankr. P. 1005).
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                                CERTIFICATE OF SERVICE

        I,                                   (name), certify that on
(date), I served this summons and a copy of the involuntary petition on
(name), the debtor in this case, by [describe the mode of service and the address at which the
debtor was served]:




       If service was made by personal service, by residence service, or pursuant to state law, I
further certify that I am, and at all times during the service of process was, not less than 18
years of age and not a party to the matter concerning which service of process was made.

       Under penalty of perjury, I declare that the foregoing is true and correct.


       Date                               Signature

              Print Name :

              Business Address:
